Case 1:07-cr-20588-DMM Document 104 Entered on FLSD Docket 07/29/2008 Page 1 of 6
Case 1:07-cr-20588-DMM Document 104 Entered on FLSD Docket 07/29/2008 Page 2 of 6
Case 1:07-cr-20588-DMM Document 104 Entered on FLSD Docket 07/29/2008 Page 3 of 6
Case 1:07-cr-20588-DMM Document 104 Entered on FLSD Docket 07/29/2008 Page 4 of 6
Case 1:07-cr-20588-DMM Document 104 Entered on FLSD Docket 07/29/2008 Page 5 of 6
Case 1:07-cr-20588-DMM Document 104 Entered on FLSD Docket 07/29/2008 Page 6 of 6
